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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.                                                   No. 1:21-cr-117 (TFH)

RYAN TAYLOR NICHOLS (01)
ALEX KIRK HARKRIDER (02)


                   MOTION IN LIMINE REGARDING
         CROSS-EXAMINATION OF U.S. SECRET SERVICE WITNESSES

       The government respectfully moves to limit the cross-examination of witnesses

with the Secret Service Agency, pursuant to Rules 401, 403, and 611(b) of the Federal

Rules of Evidence.

                                       INTRODUCTION

       Count One of the superseding indictment charges both defendants with

obstructing, impeding, and interfering with, or attempting to obstruct, impede, or interfere

with, law enforcement officers during the breach of the United States Capitol on January

6, 2021, in violation of 18 U.S.C. § 231. Counts Five and Six of the superseding

indictment individually charge Nichols and Harkrider, respectively, with entering and

remaining in a restricted building or grounds with a deadly or dangerous weapon in

violation of 18 U.S.C. § 1752(a)(2) and (b)(1)(A). And Counts Seven and Eight of the

superseding indictment individually charge Nichols and Harkrider, respectively, with

disorderly and disruptive conduct in a restricted building or grounds with a deadly or

dangerous weapon. Section 1752 defines “restricted buildings or grounds” to include any


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building or grounds temporarily visited by a person being protected by the Secret Service.

18 U.S.C. § 1752(c)(1)(B).

       To meet its burden of proof at trial, the government will call a witness from the

United States Secret Service to testify that, at the time of the Capitol breach, Secret

Service agents were on duty to protect Vice President Mike Pence and his two immediate

family members, all of whom were present at the Capitol. These officials will further

testify about the Capitol breach’s effect on the Secret Service’s protection of Vice

President Pence and his family members.

       However, the very nature of the Secret Service’s role in protecting the Vice

President and his family implicates sensitive information related to that agency’s ability

to protect high-ranking members of the Executive branch and, by extension, national

security. Thus, the government seeks an order limiting the cross-examination of the

Secret Service witnesses to questioning about the function performed by the Secret

Service as testified to on direct exam, in this case protecting the Vice President and his

family. The defendants should be specifically foreclosed from questioning the witnesses

about the following:

       1.      Secret Service protocols related to the locations where protectees or their
               motorcades are taken at the Capitol or other government buildings when
               emergencies occur; and

       2.      Details about the nature of Secret Service protective details, such as the
               number and type of agents the Secret Service assigns to protectees.

       The defendants oppose this motion.




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                                          ARGUMENT

I.     This Court Has the Discretion to Limit Cross-Examination
       of Witnesses at Trial

       It is well-established that a district court has the discretion to limit cross

examination. See Alford v. United States, 282 U.S. 687 (1931) (“The extent of cross-

examination [of a witness] with respect to an appropriate subject of inquiry is within the

sound discretion of the trial court.”). A court has the discretion to prohibit cross-

examination that goes beyond matters testified to on direct examination. Fed. R. Evid.

611(b). This is particularly so when the information at issue is of a sensitive nature. See

e.g., United States v. Balistreri, 779 F.2d 1191, 1216-17 (7th Cir. 1985) (upholding

district court’s decision to prohibit cross-examination of agent about sensitive

information about which that agent did not testify on direct examination and which did

not pertain to the charges in the case), overruled on other grounds by Fowler v. Butts, 829

F.3d 788 (7th Cir. 2016). Other permissible reasons for limiting cross-examination

include preventing harassment, prejudice, confusion of the issues, or repetitive,

cumulative, or marginally relevant questioning. Delaware v. Van Arsdall, 475 U.S. 673,

679 (1986).

       The Confrontation Clause only guarantees “an opportunity for effective cross-

examination, not cross-examination that is effective in whatever way, and to whatever

extent, the defense might wish.” Delaware v. Fensterer, 474 U.S. 15, 20 (1985). Even

evidence that may be relevant to an affirmative defense should be excluded until the

defendant sufficiently establishes that defense through affirmative evidence presented


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during his own case-in-chief. See United States v. Lin, 101 F.3d 760, 768 (D.C. Cir.

1996) (acknowledging trial court has discretion to limit cross-examination on prejudicial

matters without reasonable grounding in fact); United States v. Sampol, 636 F.2d 621,

663-64 (D.C. Cir. 1980) (holding that trial court properly limited cross-examination of

alleged CIA murder scheme until defense put forth sufficient evidence of the affirmative

defense in its case-in-chief); United States v. Stamp, 458 F.2d 759, 773 (D.C. Cir. 1971)

(finding trial court properly excluded cross examination of government’s witness with

response to matter only related to an affirmative defense and not elicited through direct

exam). Preventing the defendants from exploring the topics identified above will not

infringe their Confrontation Clause right because those topics are not relevant to an

element at issue in the case, provide no basis for impeaching the Secret Service witness,

and do not implicate any affirmative defense.

II.    Cross-Examination of Secret Service Witnesses Should Be
       Limited to Whether the Capitol was Restricted on January 6,
       2021, and the Riot’s Effect on their Functions

       To prove the charges, the government intends to offer limited testimony about the

Secret Service’s protection of certain officials on January 6, 2021. First, to establish a

violation of 18 U.S.C. § 231(c)(3), the government must prove, among other things, that a

civil disorder interfered with a federally protected function. 18 U.S.C. § 231(c)(3);

United States v. Red Feather, 392 F. Supp. 916, 918-19 (D. S.D. 1975). A “federally

protected function” includes any lawful function, operation, or action by a federal agency

or officer. 18 U.S.C. § 232(3). Thus, the government must prove that the January 6

breach interfered with a federal agency or federal officer’s performance of lawful duties.

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To meet this element, the government intends to offer the testimony that pursuant to

authority under 18 U.S.C. § 3056(a)(1), on January 6, 2021, Secret Service agents were at

the Capitol to protect Vice President Mike Pence and two members of his immediate

family. 1 A Secret Service official is further expected to explain how the events at the

Capitol on that date affected the Secret Service’s ability to protect Vice President Pence

and his family.

        To prove Counts Five through Eight, which charge violations of § 1752(a)(1) and

(2), the government must prove that the Capitol and its grounds were “restricted” because

the Vice President and his family were present there and being protected by the Secret

Service. See 18 U.S.C. § 1752(c)(1)(B) (defining restricted buildings and grounds).

        Cross-examination of Secret Service witnesses about extraneous matters beyond

the scope of direct examination should be excluded as irrelevant or unduly prejudicial.

But the Secret Service’s general protocols about relocation for safety should be excluded

as irrelevant because such evidence does not tend to make a fact of consequence more or

less probable. Fed. R. Evid. 401 (defining relevant evidence). Similarly, evidence of the

nature of Secret Service protective details is not relevant in this case. The number or type

of assigned agents on a protective detail does not alter the probability that the Capitol and

its grounds were restricted at the time. None of the other elements to be proven, or

available defenses, implicates further testimony from the Secret Service.




1
 The Secret Service is authorized to protect the Vice President and his immediate family. 18 U.S.C.
§§ 3056(1) and (2).

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       Even assuming the evidence to be excluded is marginally relevant, such relevance

is substantially outweighed by the danger of confusion of the issues, mini-trials, undue

delay, and waste of time. See United States v. Mohammed, 410 F. Supp. 2d 913, 918

(S.D. Cal. 2005) (finding that information having broader national security concerns can

be excluded under Rule 403 because its tendency to confuse the issues, mislead the jury,

create side issues or a mini-trial can result in undue prejudice that substantially outweighs

any probative value). Broader cross-examination of Secret Service witnesses could

compromise national security without adding any appreciable benefit to the determination

of the truth, or the veracity or bias of witnesses. Id.

III.   The Government Requests an In Camera Proceeding to Determine the
       Admissibility of Certain Evidence

       If this court determines that a hearing is necessary to determine the admissibility

of testimony by a witness from the Secret Service, the government requests the hearing

be conducted in camera and ex parte. As noted, in this case, disclosure of certain

information could prove detrimental to the Secret Service’s ability to protect high-level

government officials and affect our national security. Courts have found such

considerations justify ex parte, in camera proceedings. See Gilmore v. Palestinian

Interim Self-Gov’t Auth., 843 F.3d 958, 968 (D.C. Cir. 2016) (finding that while ex parte

proceedings should be employed to resolve discovery disputes only in extraordinary

circumstances, they are appropriate where disclosure could lead to substantial adverse

consequences, such as where a party sought intelligence materials generated in the midst

of a geopolitical conflict); United States v. Nixon, 418 U.S. 683, 714 (1974) (affirming


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district court’s order for in camera inspection of subpoenaed presidential materials);

United States v. Kampiles, 609 F.2d 1233, 1248 (7th Cir. 1979) (“It is settled that In

camera ex parte proceedings to evaluate bona fide Government claims regarding national

security information are proper.”); In re Taylor, 567 F.2d 1183, 1188 (2d Cir. 1977)

(finding that in camera proceedings “serve to resolve, without disclosure, the conflict

between the threatened deprivation of a party’s constitutional rights and the

Government’s claim of privilege based on the needs of public security.”); United States v.

Brown, 539 F.2d 467, 470 (5th Cir. 1976) (per curiam) (same).

                                         CONCLUSION

       For these reasons, the United States requests that this court enter an order, as

described above, limiting cross-examination of any witness with the Secret Service. If

this court determines an evidentiary hearing is necessary to rule on this motion, the

government asks that the hearing be held in camera and ex parte.

                                               Respectfully submitted,

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                                                /s/ Douglas B. Brasher
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                              CERTIFICATE OF CONFERENCE

       I certify that I conferred with Joseph McBride, counsel for Ryan Nichols, by

telephone on July 18, 2022, and Kira West, counsel for Alex Harkrider by email on July

18, 2022, and both indicated that they were opposed to this motion.

                                                /s/ Douglas B. Brasher
                                               DOUGLAS B. BRASHER




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